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                       UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

UNITED STATES OF AMERICA                     §
                                             §
vs.                                          §      Cr. No.: SA:18-CR-00524(2)-DAE
                                             §
(2) RUBEN HERNANDEZ                          §
  Defendant


              ORDER SETTING REARRAIGNMENT AND PLEA
        IT IS HEREBY ORDERED that the above entitled and numbered case is set for
REARRAIGNMENT AND PLEA, in the Courtroom A, 655 East Cesar E. Chavez Boulevard,
SAN ANTONIO, Texas, on Wednesday, January 02, 2019 at 2:30 PM.

            IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order
to the defendant, counsel for defendant, the United States Attorney, U.S. Pretrial Services
Office and the U.S. Probation Office. Further, counsel for the defendant shall notify the
defendant of this setting. If the defendant is on bond, he shall be present.

              IT IS SO ORDERED on this 20th day of December, 2018.




                                             ______________________________
                                             RICHARD B. FARRER
                                             UNITED STATES MAGISTRATE JUDGE
